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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA


STEPHEN PROCTOR, et al.,                    )
                                            )
                      Plaintiffs,           )
                                            )
vs.                                         )       Case No. CIV-07-654-M
                                            )
POTTAWATOMIE COUNTY                         )
BOARD OF COUNTY                             )
COMMISSIONERS,                              )
                                            )
                      Defendant.            )

ENTER ORDER:

        A settlement conference was held this date in the above case. Plaintiffs Matthew Laney,
Bobby Ashley and Lloyd Conover failed to appear. Court to enter a Certificate of Facts pursuant
to 28 U.S.C. §636 regarding same. Plaintiff Kenneth Reinhart appeared by telephone, Plaintiff
Robert Almon appeared in person and Plaintiff Tecumseh Martinez appeared through his mother
Glenda Deere and by telephone. Bill Roberson and Cregg Webb appeared as lead trial counsel for
Plaintiffs. Defendant Pottawatomie County Public Safety Center Trust appeared through its
representative Ken Fulbright, Chairman of the Board of Trustees, and by lead trial counsel, Chris
Collins and Ambre C. Gooch. Also appearing with Defendant is Denny Butler, Claims
Representative of the Association of County Commissioners.

       The case settled and a 30 day administrative closing order will be entered.

ABOVE ORDER ENTERED BY DIRECTION OF UNITED STATES MAGISTRATE JUDGE
GARY M. PURCELL.


                                                    ROBERT D. DENNIS, Clerk

                                                    By: /s/ Debbie Bedolla


Dated: July 21, 2010
Copies to parties of record

cc:    Marcia Davis
       Kathy Spaulding, courtroom deputy
